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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,                               Criminal Case No. 11-20117

      vs.                                             HON. GEORGE CARAM STEEH

D-3 TATAIANA LATRICE TAYLOR,

           Defendant.
_____________________________/

                    ORDER EXTENDING SELF-SURRENDER DATE


      The parties having conducted a telephone conference with the court today and

explained the need for defendant to obtain further medical treatment before her report

date and having agreed upon a two week extension of her current report date of

October 17, 2014,

      IT IS THEREFORE ORDERED that defendant surrender to the Federal Bureau

of Prisons on October 31, 2014.

      SO ORDERED.

Dated: October 15, 2014
                                             s/George Caram Steeh
                                             GEORGE CARAM STEEH
                                             UNITED STATES DISTRICT JUDGE

                                   CERTIFICATE OF SERVICE

                    Copies of this Order were served upon attorneys of record on
                       October 15, 2014, by electronic and/or ordinary mail.

                                       s/Marcia Beauchemin
                                           Deputy Clerk


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